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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

               Plaintiff,

  v.                                                   Case No. 11-20551

  ADELFO PAMATMAT (D-18),

               Defendant.
                                                   /

       OPINION AND ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS
                    ALLEGED INCULPATORY STATEMENTS

        Now before the court is Defendant Adelfo Pamatmat’s December 29, 2014

  Motion to Suppress Alleged Inculpatory Statements of Defendant, in which Pamatmat

  requests that the court suppress (1) alleged inculpatory statements made by Pamatmat

  and (2) an Application to Intercept Wire and Electronic Communications, Drug

  Enforcement Administration (“DEA”) Agent Swain’s Affidavit filed in support of the

  application, and any evidence uncovered as a result of the wiretap sought through the

  application. (Dkt. # 909, Pg. ID 4067.) Both parties requested a hearing on whether

  Pamatmat made the alleged inculpatory statements and, if so, whether they were made

  after he was advised of his Miranda rights and signed a written waiver. (Dkt. # 909, Pg.

  ID 4067; Dkt. # 943, Pg. ID 4352.) A hearing was held on April 8, 2015. For the

  reasons stated on the record and below, Pamatmat’s motion will be denied.

                                     I. BACKGROUND

        On December 2, 2010, the DEA conducted a search of Pamatmat’s residence.

  According to the affidavit submitted by DEA Agent Swain in support of the DEA’s
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  Application to Intercept Wire and Electronic Communications and the DEA’s Report of

  Investigation, dated December 6, 2010, Pamatmat “gave statements to law enforcement

  after receiving, understanding, and waiving his Miranda warnings.” (Dkt. # 909-2, Pg.

  ID 4088.) In particular, Agent Swain’s affidavit states:

          [Pamatmat] told agents that he uses telephone number 248-497-0687 to
          communicate with associates. Since 2007, [Pamatmat] stated he was
          involved with fraudulent medical companies conducting home exams and
          knowingly issuing controlled substance prescriptions, without medical
          justification, that were utilized by the patient recruiters who divert controlled
          substances for illicit sale. [Pamatmat] also admitted to providing the fraudulent
          medical company with pre-signed prescriptions. He also admitted to signing
          patient charts and blank prescriptions for [a confidential information].

  (Id.)

          Pamatmat contends that these statements “are false and intentional

  misrepresentations,” and that he “never made any inculpatory statements or a

  confession of any kind to the DEA during the search of his residence on December 2,

  2010.” (Dkt. # 909, Pg. ID 4068.)

          The government filed the Application to Intercept Wire and Electronic

  Communications on June 7, 2011. The application sought “authorization to intercept

  wire and electronic communications, to include SMS content, audio and text messages”

  of Pamatmat and others. Judge Bernard Friedman of the Eastern District of Michigan

  issued an order on June 7, 2011 granting the DEA authority to intercept wire and

  electronic communications of Pamatmat, as requested in the DEA’s application.

          The court held a hearing on Pamatmat’s Motion to Suppress on April 8, 2015 at

  which the court heard testimony from Pamatmat and three DEA agents—Agent Swain,




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  Task Force Agent Patrick Francis DeBottis, and Special Agent Mark Gogan—who

  participated in December 2, 2010 search of Pamatmat’s residence.

                                         I. STANDARD

         The Fourth Amendment guarantees that “[t]he right of the people to be secure in

  their persons, houses, papers, and effects, against unreasonable searches and

  seizures, shall not be violated, and no Warrants shall issue, but upon probable cause,

  supported by Oath or affirmation, and particularly describing the place to be searched,

  and the persons or things to be seized.” U.S. Const. Amend. IV. “The basic standards

  for a wiretap are similar to those for a search warrant, but there also must be strict

  compliance with Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18

  U.S.C. §§ 2510–2520.” United States v. Alfano, 838 F.2d 158, 161 (6th Cir. 1988).

  “There is no precise formula for determining the existence or nonexistence of probable

  cause; rather, a reviewing court is to take into account the ‘factual and practical

  considerations of everyday life’ that would lead a reasonable person to determine that

  there is a reasonable probability that illegality has occurred or is about to occur.” United

  States v. Strickland, 144 F.3d 412, 415 (6th Cir. 1998) (quoting Illinois v. Gates, 462

  U.S. 213, 231 (1983)); see United States v. Johnson, 645 F.2d 865, 867 (10th Cir.

  1981) (“[A]ffidavits in support of an application for a wiretap order, as well as affidavits in

  support of a search warrant, are to be read in a practical and commonsense manner

  rather than hypertechnically.”).

         “An order authorizing or approving a wiretap must be based on a finding of

  sufficient probable cause to issue the wiretap.” United States v. Talbert, 706 F.2d 464,

  467 (4th Cir. 1983). To find probable cause justifying a wiretap, “[c]ertainty is not

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  required, but rather a fair probability and something more than a mere suspicion.”

  United States v. Poulsen, 655 F.3d 492, 504 (6th Cir. 2011). “Since the issuing judge is

  in the best position to determine all of the circumstances in the light in which they may

  appear at the time, ‘great deference’ is normally paid to the determination of an issuing

  judge.” Alfano, 838 F.2d at 162. “[T]he fact that a later trial judge or reviewing court

  may feel that a different conclusion was appropriate does not require, nor even

  authorize, the suppression of evidence gained through such a warrant.” Id. The court

  will disturb a magistrate’s determination that a wiretap should be approved “only if [his

  discretion is] arbitrarily exercised.” United States v. Algie, 721 F.2d 1039, 1041 (6th Cir.

  1983) (per curiam).

         In Franks v. Delaware, 438 U.S. 154 (1978), the Supreme Court held:

         [W]here the defendant makes a substantial preliminary showing that a false
         statement knowingly and intentionally, or with reckless disregard for the truth,
         was included by the affiant in the warrant affidavit, and if the allegedly false
         statement is necessary to the finding of probable cause, the Fourth
         Amendment requires that a hearing be held at the defendant’s request. In the
         event that at that hearing the allegation of perjury or reckless disregard is
         established by the defendant by a preponderance of the evidence, and, with
         the affidavit’s false material set to one side, the affidavit’s remaining content
         is insufficient to establish probable cause, the search warrant must be voided
         and the fruits of the search excluded to the same extent as if probable cause
         was lacking on the face of the affidavit.

  Id. at 155-56. “In order to obtain a [Franks] hearing, the defendant must make a

  substantial preliminary showing that a false statement knowingly and intentionally, or

  with reckless disregard for the truth, was included in the affidavit,” United States v.

  Stewart, 306 F.3d 295, 304 (6th Cir. 2002), and that “the exclusion of the allegedly false

  statement . . . results in a lack of probable cause.” Mays v. City of Dayton, 134 F.3d

  809, 815 (6th Cir. 1998). It is the defendant’s burden to “specifically point to the

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  disputed portions of the challenged affidavit, and . . . support these charges with an

  offer of proof.” Stewart, 306 F.3d at 304. “If at the hearing, the defendant can show by

  a preponderance of the evidence that the affiant either knowingly or with reckless

  disregard included a false statement in the affidavit, then any evidence and fruits of the

  search would be excluded.” United States v. Rodriguez-Suazo, 346 F.3d 637, 648 (6th

  Cir. 2003).

         Meanwhile, it is the government’s burden to prove by a preponderance of the

  evidence that a confession was voluntarily provided. Cf. United States v. Mahan, 190

  F.3d 416, 422 (6th Cir. 1999) (“When a defendant claims that a confession was

  coerced, the government bears the burden of proving by a preponderance of the

  evidence that the confession was in fact voluntary.”).

                                       III. DISCUSSION

         A. Pamatmat’s Inculpatory Statements

         According to Agent Swain’s affidavit and the April 8, 2015 testimony of Agent

  Swain and Agent DeBottis, Pamatmat made at least the following inculpatory

  statements, all summarized in Agent Swain’s affidavit:

        [Pamatmat] told agents that he uses telephone number 248-497-0687 to
        communicate with associates. Since 2007, [Pamatmat] stated he was
        involved with fraudulent medical companies conducting home exams and
        knowingly issuing controlled substance prescriptions, without medical
        justification, that were utilized by the patient recruiters who divert controlled
        substances for illicit sale. [Pamatmat] also admitted to providing the fraudulent
        medical company with pre-signed prescriptions. He also admitted to signing
        patient charts and blank prescriptions for [a confidential information].

  (Dkt. # 909-2, Pg. ID 4088.)




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         Agent Swain and Agent DeBottis testified that Pamatmat made these statements

  during an approximately forty-five minute interview conducted by Agent Swain and

  Agent DeBottis while sitting in Pamatmat’s kitchen on December 2, 2010. Pamatmat

  testified at the April 8, 2015 hearing that he had a “conversation” with the agents while

  sitting in his kitchen on December 2, 2010, but he denied having made any of the

  inculpatory statements alleged by the agents. Pamatmat also confirmed that he had

  signed the written Miranda waiver and that the statements contained in the waiver were

  true at the time he signed the waiver. Namely, Pamatmat testified that it is true that, at

  the time he signed the waiver, he had read the statement of his rights, understood the

  rights, did not want a lawyer, and had not received any promises, threats, or coercion.

  Pamatmat contends, however, that he signed the waiver after, not before the

  “conversation” with Agent Swain and Agent DeBottis; both agents testified that he had

  signed it before he made the inculpatory statements, the handcuffs having been

  removed. The Miranda waiver is dated December 2, 2010 at 9:15 AM, and, according

  to Pamatmat and the agents, most or all of the interview occurred after 9:15 AM.

         Additionally, Pamatmat testified that, when he arrived at his house on December

  2, 2010, an agent grabbed him and “pulled [him]” out of his car. He stated that he had

  no recollection of who the agent was, but clarified that the agent was “not here.”

  Meanwhile, in his December 23, 2014 affidavit, Pamatmat stated that “Agent Swain

  forcibly pulled me from my car.” (Dkt. # 909-4, Pg. ID 4118.) Agent Swain was sitting in

  the court room, and had previously testified about the events of December 2, 2010,

  when Pamatmat stated that the agent who grabbed him out of his car was “not here.”



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        As the court stated on the record, the court finds the three testifying DEA agents

  substantially credible and finds Pamatmat substantially not credible. The agents

  corroborated each others’ testimony, and their description of events provides the most

  likely explanation for how the DEA acquired the extremely detailed information related to

  Pamatmat contained in the DEA’s December 6, 2010 Report of Investigation. (Gov’t Ex.

  1, Hr’g, Apr. 8, 2015.)1 Meanwhile, Pamatmat’s testimony and affidavit are inconsistent

  regarding how he was “pulled” from his vehicle, and his description of the interview with

  the DEA agents as a “conversation” strongly suggests that he made statements of some

  sort to the agents. Accordingly, the court finds that both the existence and the

  voluntariness of Pamatmat’s alleged statements are supported by a preponderance of

  the evidence. A strong preponderance of the evidence demonstrates that Pamatmat

  waived his Miranda rights prior to making the statements and that the statements were

  made voluntarily.

        B. The Search Warrant

        Pamatmat requests that the court suppress the contents of communications

  intercepted as a result of the wiretap pursuant to 18 U.S.C. § 2518(10)(a). Pamatmat

  insists that Agent Swain’s affidavit contains false statements and material omissions.

  He first argues that Agent Swain’s affidavit is misleading because it discusses

  Pamatmat’s aforementioned inculpatory statements from December 2, 2010. As


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            The court raised a final question for defendant’s counsel at the conclusion of
  his closing remarks: the court challenged counsel to explain where all the two pages of
  details about Pamatmat’s activities related in the DEA 6 report came from, if not directly
  from Pamatmat, as the report averred. Counsel responded to the question only after
  prodding, and was unable to offer a cogent alternative explanation for the source of
  such details.

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  discussed above, Pamatmat has failed to demonstrate by a preponderance of the

  evidence that the statements contained in Agent Swain’s affidavit pertaining to

  Pamatmat inculpatory statements were false.

         Second, Pamatmat argues that the affidavit omits material information, rendering

  the affidavit misleading. In particular, he identifies the following alleged omissions: (1)

  the affidavit states the exact number of phone calls between (248) 497-0687 and

  “Target Telephone 1,” but it omits any mention that the DEA conducted a search of

  Pamatmat’s cell phone or call logs in order to obtain this information; (2) while stating

  that the telephone number (248) 952-7354 was “subscribed” to Pamatmat and “in

  contact” with “Target Telephone 1,” the affidavit did not disclose that the phone was not

  ‘utilized’ by Dr. Pamatmat;” (3) the affidavit did not disclose that “this number . . .

  belonged to someone that had absolutely nothing to do with the government’s

  investigation and warrant request,” namely Pamatat’s girlfriend Barbara Szkop; and (4)

  the affidavit did not inform the magistrate that the DEA “stopped Ms. Szkop in her

  vehicle while she was driving her minor daughter to school, seized her cell phone, and

  forced her to follow the DEA to retrieve the cell phone from them.” (Dkt. # 909, Pg. ID

  4071-76.)

         Even assuming Pamatmat’s alleged omissions are true, such omissions would

  not render the Order Authorizing the Interception of Wire and Electronic

  Communications infirm. “[E]xcept in the very rare case where the defendant makes a

  strong preliminary showing that the affiant with an intention to mislead excluded critical

  information from the affidavit, and the omission is critical to the finding of probable

  cause, Franks is inapplicable to the omission of disputed facts.” Mays v. City of Dayton,

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  134 F.3d 809, 816 (6th Cir. 1998). Under Franks, a defendant must not only make a

  substantial preliminary showing that an affiant’s omissions amounted to “a ‘deliberate

  falsehood’ or ‘reckless disregard for the truth,’” id. (quoting Franks, 438 U.S. at 171), he

  must also establish that the omissions were “critical to the finding of probable cause.”

  Id.

         Here, the application and supporting affidavit contains substantial evidence

  supporting a finding of probable cause as to Pamatmat. The affidavit discusses, inter

  alia, Pamatmat’s inculpatory statements, subpoenaed telephone records from AT&T,

  and controlled purchases of prescriptions requesting the dispensing of Schedule II

  controlled substances signed by Pamatmat. The fact that the affidavit may have

  omitted discussion of an alleged search of Pamatmat’s cell phone or call logs and

  Pamatmat’s and his girlfriend’s usage of a telephone number that was subscribed to

  Pamatmat were not critical for a finding of probable cause. Because none of the

  alleged omissions were critical to the finding of probable cause, this is not

  one of the “very rare case[s]” where “Franks is []applicable to the omission of disputed

  facts.” Mays, 134 F.3d at 816.2



                                      IV. CONCLUSION




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          Pamatmat’s motion also alleges that the application for the wiretap was drafted
  in a convoluted and confusing manner which obscured the fact that there was not
  probable cause. The court does not find the application to be convoluted or confusing;
  likewise, the court finds that the application was supported by probable cause. This
  argument is, therefore, without merit.

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            IT IS ORDERED that Defendant Adolfo Pamatmat’s Motion to Suppress Alleged

  Inculpatory Statements (Dkt. # 909) is DENIED.

                                                                s/ Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE

  Dated: April 9, 2015

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, April 9, 2015, by electronic and/or ordinary mail.

                                                                 S/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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